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            H O USTO N

            A4et    L EADING MEDICINE
                                                            TRA S I                   AL
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               To:     Michael Weiner, MD                   From:      Hm Interface, Radiology
                                                                       Results Incoming
                Fax: 212-535-3259                              Fax:
                                                             Phone: 713-441-2282
                                                              Dept: HOUSTON METHODIST
                                                                    HOSPITAL OPC NUC MED

         NOTES:


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  PET BRAIN METABOLIC EVAL                                                                                   'AtI
                                                                                                                lc'
                                                                                                                  '. •     it
  Brockman, Robert T
  M RN: 003768603, Legal Sex: Male,                 (80 yrs), Outpatient
  Accession #: IM33191029



  Final Result                                                                        Appointment Info
  PROCEDURE:        PET BRAIN METABOLIC EVAL                                           Exam Date
                                                                                       In 8/24/2021
  CLINICAL HISTORY:           G30.9 Alzheimer's disease
   unspecified, F02.80 Dementia in other diseases
                                                                                      Department
  classified elsewhere without behavioral disturbance,
                                                                                      HOUSTON METHODIST HOSPITAL OPC
  alzheimers
                                                                                      N UC MED
                                                                                      S)713-441-2282
  COMPARISON:
  Amyvid brain PET 7/28/2021.
                                                                                       9 6445 Main Street
                                                                                         H OUSTON TX 77030-1502

  TECHNIQUE:
  The patient was injected with 10 mCi of 18F-FDG                                     Reason for Exam
  intravenously, followed 1 hour later by PET-CT                                       alzheimers
  scanning of the brain. CT scanning was nondiagnostic
  in quality and was used for attenuation correction
  and to aid in localization of any abnormal findings
                                                                                      Diagnosis
  on                                                                                   Alzheimer's dementia (HCC)
  PET. Blood glucose = 117.


  FINDINGS:
                                                                                      Providers
  Mildly reduced uptake in the posterior temporal lobes                               PCP
  and bilaterally in the parietal lobes. Slightly                                     James L. Pool, MD
  reduced uptake in the frontal lobes. Occipital uptake                               Si 713-798-0180
  is reasonably good. There is preserved, prominent                                    9 6620 Main St.
  uptake in the primary sensorimotor cortex                                              H ouston TX 77030
  bilaterally, frequently a secondary sign of adjacent
  neurodegenerative disease. Normal metabolism in the                                 Ordering Provider
  basal ganglia, thalami, and cerebellum.                                             Michael Welner, MD
                                                                                      Si 212-535-9286
  IMPRESSION:                                                                          9 224 WEST 30TH STREET SUITE 806
  Findings are mild, but very suggestive of                                               N EW YORK NY 10001
  neurodegererative disease, particularly Alzheimer's
  disease. Although statistically less likely, dementia
                                                                                      Attending Provider
  with Lewy bodies or Parkinson's disease with dementia
                                                                                      Michael Weiner, MD
  can have a similar scan pattern. The markedly
                                                                                      S)212-535-9286
  abnormal uptake on the prior Amyvid PET scan also
  somewhat favors Alzheimer's disease over DLB/FDD.
                                                                                       9 224 WEST 30TH STREET SUITE 806
                                                                                         N EW YORK NY 10001


  HME-21JA70310KZ
                 Signed by Fisher, Ronald Evan, MD on 8/24/2021 2:43 PM




  Brockman, Roberti- MRN: 003758603 ACC! IM33191029 PLT BraIn MetaboHc Lval                                     Page 1 of 1 •




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